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AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

 

 

for the
District of Oregon
vicky LYNN §
)
)
Plaimyy"(s) )
v. § Civil Action No_ 3219-CV-397-JR
Alexander sTRoSs )
)
)
)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

TOZ (Defendant’s name and address) AleXander STROSS
6704 Manchaca Road, Unit 23,
Austin, Texas 78745-4980

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: David H. MADDEN

Mersen ne Law

9600 S.W. Oak Street
Suite 500

Tigard, Oregon 97223

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

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_-j.»':"?:` .MARY'F*L'. Mq;g.m, clerk of Cour¢

Date: M[]_GZZ_()_IQ____ n 2d By§l§§|f §§'.gate, ]]epufy Clerk

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Case 3:19-Cv-00397-.]R Document 10 Filed 04/29/19 Page 2 of 3

AHI_DAVIT or SERVICE

The undersigned hereby certifies that true and correct copies of the documents entitled:
COMPLAINT FOR DECLARATORYJUDGMENT OF NON-INFRINGEMENT OF
COPYRIGHT (8 pages) and

PLAINTIFF’S OFFER OF _]UDGMENT PURSUANT TO FED. R. CIV. P. 68 (2 pages)

Were served upon the parties listed below on the date indicated,
l:] by following state law for serving a summons in an action brought in courts of general
jurisdiction where the district court is located or where service is made:
[:l by delivery of a true copy of the document to the party to be served;

l:| by delivering a true copy of the document to the dwelling house or usual place of abode of
the person to be served, to any person 14 years of age or older residing in the dwelling
house or usual place of abode of the person to be served;

|:l by leaving a true copy of the document during Working hours at an office maintained by
the party to be served for the conduct of business, With the person who is apparently in
charge;

l:| by mailing a true copy of the document to the party by first class mail and by any of the
‘J following: certified, registered, or express mail with return receipt requested;

by delivering a copy of the document to the individual personally;

l:l by leaving a copy of the document at the individual’s dwelling or usual place of abode With
someone of suitable age and discretion who resides there;
|:| by delivering a copy of the document to an agent authorized by appointment or by law to
receive service of process;
l:| by mailing a copy of the document to an attorney representing the party;
Alexander STROSS

6704 Manchaca Road, Unit 23
Austin, Texas 78745-4890

 

Procers Sert)er Statement / Notes

 

 

 

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